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IN THE UNITED sTATEs DISTRICT coURT "' ?._/3¢
FOR THE WESTERN DIsTRICT OF TENNEssEE /;_-; '
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UNITED STATES OF AMERICA,
Plaintiff,

vs.

Cr. NO. 98-20293(G)Bre

XAVIER TODD,

Defendant.

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ORDER DENYING IRREGULAR MOTION AND SUPPLEMENTAL MOTION

 

Defendant, Xavier Todd, Bureau of Prisons (BOP) inmate
registration number 16647-076, an inmate at the Federal
Correctional 1nstitution in Memphis, Tennessee, has filed two
irregular motions in his closed criminal case. (Docket entries 48
and 49) On December 21, 1998, a federal grand jury indicted Todd
on one count of possession of a firearm after conviction of a
felony, in violation of 18 UIS.C. § 922(g); and one count of
possession of a stolen firearm, in Violation of 18 U.S C. § 922(j).

On May 6, 1999, Todd pled guilty in federal court to count one
of the indictment and count two was dismissed upon motion by the
United States. After a sentencing hearing on July 23, 1999, United
States District Judge Julia Gibbons entered a judgment on July 28,

1999 imposing a sentence of 120 months to be served consecutively

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to the state sentence currently being served.l United States v.
IQQQ, No. 98-20293-©. Defendant did not appeal, thereforer his
sentence became final, at the latest, on September 7, 1999, the
deadline for extending the time for taking an appeal.2 United
States v. Noble, NO. 97-6354, 1998 WL 487023 (lOth Cir. Aug. lO,
l998)(holding that in absence of any appeal from original judgment
of conviction, judgment becomes final upon expiration of only the
ten-day appeal time limit of Fed. R. App. P. 4(b)--§ 2255 motion
filed over one year after the expiration of the Rule 4(b) extension
period as well); United States v. Concepcion, No. 98-2372, 1999 WL
225865 (E.D. Penn. Apr. 19, 1999)(same); Stead v. United States.
But see United States v. Walker, No. 99-6847, 1999 WL 760237 (4th
Cir. Sept. 17, 1999)(holding that in absence of any appeal from
original judgment of conviction, judgment becomes final upon
expiration. of bg;h ten-day appeal time limit and thirty-day

excusable neglect time period of Fed. R. App. P. 4(b)).

 

1 Todd's federal sentence was imposed under United States Sentencing

Guideline (USSG) § 5G1.3(a), providing “[i]f the instant offense was committed
while the defendant was serving a term or imprisonment. . . or after sentencing
for, but before commencing service of, such term of imprisonment, the sentence
for the instant offense shall be imposed to run consecutively to the undischarged
term of imprisonment.” Todd was mistakenly released from custody by the State
of Tennessee after pleading guilty on July 9, 1998, to charges of driving while
a habitual motor offender and driving while license suspended. Thus, Todd was
required to serve out the state sentence for his convictions for being a habitual
motor offender and driving while his license was suspended before serving his
sentence for this federal conviction.

2 The time actually expired on September 6, 1999, however that date was

Labor Day, a national holiday.

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Defendant styled his pleadings as motions for relief from
judgment based. upon, an “illegal sentence” or “void. judgment”
pursuant to Rule 60(b)(4) of the Federal Rules of Civil Procedure.
Rule 60(b)(4) is inapplicable, however, because the Federal Rules
of Civil Procedure do not apply to federal criminal prosecutions.
Todd also contends that Rule 35 of the Federal Rules of Criminal
Procedure allows the correction of an illegal sentence at any time.

The Sentencing Reform Act of 1984 places strict limits on a
court's power to modify a federal sentence. Eighteen U.S.C. §
3582(€) governs modification of an imposed term of imprisonment and
states as follows:

The Court may not modify a term of imprisonment once it
has been imposed except that_

(1) in any case~

(A) the court, upon motion of the Director of the
Bureau of Prisons, may reduce the term of
imprisonment, after considering the factors set
forth in section 3553(a) to the extent that they
are applicable, if it finds that-

(i) extraordinary and compelling reasons
warrant such a reduction;

(ii) the defendant is at least 70 years of
age, has served at least 30 years in prison,
pursuant to a sentence imposed under section
3559(c), for the offense or offenses for which
the defendant is currently imprisoned, and a
determination has been made by the Director of
the Bureau of Prisons that the defendant is
not a danger to the safety of any other person
or the community, as provided under section
3142(§);

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and that such a reduction is consistent with

applicable policy' statements issued by the

Sentencing Commission; and

(B) the court may modify an imposed term of

imprisonment to the extent otherwise expressly

permitted by statute or by Rule 35 of the Federal

Rules of Criminal Procedure; and

(2) in the case of a defendant who has been
sentenced to a term of imprisonment based on a sentencing
range that has subsequently been lowered by the

Sentencing Commission pursuant to 28 U.S.C. 994(0), upon

motion of the defendant or the Director of the Bureau of

Prisons, or on its own motion, the court may reduce the

term of imprisonment, after considering the factors set

forth in section 3553(a) to the extent that they are

applicable, if such a reduction is consistent with
applicable policy statements issued by the Sentencing

Commission.

None of the provisions of 18 U.S.C. § 3582(c) are applicable
here. The Director of the BOP has not moved for a reduction of the
defendant's sentence pursuant to § 3582(c)(1)(A). Neither Fed. R.
Crim. P. 35, nor any federal statute, authorizes the Court to
modify Todd's sentence pursuant to § 3582(c)(1)(8). §ee §;g;, Fed.
R. Crinn P. 35 (district court may‘ correct illegally imposed
sentence only within seven days after imposition of sentence).
Finally, the Sentencing Commission has not lowered the applicable
Sentencing Range pursuant to 28 U.S.C. § 994(0), so as to bring
this case within § 3582(c)(2).

For federal prisoners seeking to attack the validity of a
conviction or sentence, the only remedy is through a motion to
vacate under 28 U.S.C. § 2255. In re Hanserd, 123 F.3d 922, 933
(6th Cir. 1997); United States v. Sarduy, 838 F.2d 157, 158 (Gth

Cir. 1988)(challenge to proper sentence calculation should be

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brought under § 2255, not Rules 32 or 35). Todd clearly seeks to
overturn his conviction. The motion, therefore, requests relief
that is only available under § 2255.

Thus, the Court considers whether to treat defendant's motions
collectively as one under 28 U.S.C. § 2255. The Antiterrorisn
and Effective Death Penalty Act of 1996, Pub. L. No. 104-132, 110
stat. 1214 (Apr. 24, 1996) (codified at 23 U.s.c. § 2244 et segi)
(AEDPA), created a statute of limitations for filing habeas
petitions under § 2255. The Court reviews this statute of
limitations as a threshold matter. Holloway v. Corcoran, 980 F.
Supp. 160, 161 (D. Md. 1997), app. dismissed, 161 F`.Bd 1155 (4th
Cir. 1998); Bronaugh v. Ohio, 235 F.3d 280 (6th Cir. 2000).

The relevant portion of 28 U.S C. § 2255 provides:

A 1-year period of limitation shall apply to a motion

under this section. The limitation period shall run from

the latest of-

(1) the date on which the judgment of
conviction becomes final;

(2) the date on which the impediment to
making a motion created by governmental action
in violation of the Constitution or laws of
the United States is removed, if the movant
was prevented from making a n©tion by such
governmental action;

(3) the date on which the right asserted was
initially recognized by the Supreme Court, if
that right has been newly recognized by the
Supreme Court and made retroactively
applicable to cases on collateral review; or

(4) the date on which the facts supporting
the claim or claims presented could have been
discovered through the exercise of due
diligence.

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“[F]or purposes of collateral attack, a conviction becomes
final at the conclusion of direct review.” Johnson v. United
States, 246 F.3d 655, 657 (6th Cir. 2001). In this caser
defendant's sentence became final, at the latest, on September 7,
1999. Accordinglyr the limitations period expired on September 7,
2000, unless one of the conditions set forth above is applicable.
Todd placed the first of these two motions in the prison mail
system on April 24, 2004. The motions, therefore, appear to be
untimely if construed collectively as a §2255 motion.

ln Dunlap v. United States, 250 F.3d 1001, 1004 (6th Cir.

 

2001), the Sixth Circuit held that the one-year limitations period
applicable to § 2255 motions is a statute of limitations subject to
equitable tolling. Five factors are relevant to determining the
appropriateness of equitably tolling a statute of limitations:

(1) the petitioner's lack of notice of the filing

requirement; (2) the petitioner's lack of constructive

notice of the filing requirement; (3) diligence in
pursuing one's rights; (4) absence of prejudice to the
respondent; and (5} the petitioner's reasonableness in
remaining ignorant of the legal requirement for filing
his claim.
ld. at 1008.

Defendant does not even attempt to argue that he lacked notice
ofr or knowledge of, the filing requirement. Equitable tolling is
inappropriate in this case. Mere negligence or a mistake of fact
is ordinarily not the type of extraordinary circumstances that

warrants equitable tolling. Brown v. United States, 20 Fed Appx.

373, 374 (6th Cir. Sept. 21, 2001) (“Ignorance of the limitations

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period does not toll the limitations period.”). Accordingly,
Todd’s motion is barred by the statute of limitations unless one of
the conditions set forth above is applicable.

Rather than presenting any basis for the application of
equitable tolling, Todd contends that Blakelv v. Washinqton, ---
U.S.---,124 S. Ct. 2531, 159 L.Ed.Zd 403 (2004), is a “new rule of
constitutional law," arguably an attempt to invoke § 2255 i6(3).

Although Todd can make a prima facie showing that Blakely was not

 

available to him during the applicable one-year limitations period
for a motion to vacate and presents a new constitutional rule of
criminal procedure, he cannot demonstrate that Blakely has been
“made retroactively applicable to cases on collateral review.” 28
U.S.C. § 2255. New rules of constitutional criminal procedure are
generally not applied to cases on collateral review. league v.
L§n§, 489 U.S. 288, 109 S.Ct. 1060, 103 L.Ed.Zd 334 (1989).

ln, the recent cases of United. States v. Bookery and its
companion case United States v. Fanfan, ---U.S.~--, 125 S. Ct. 738,
160 L.Ed.2d 621 (2005), although the Supreme Court determined that
its holding in Blakely applies to the Federal Sentencing
Guidelines, Booker, 125 S. Ct. at 755-56, the Court also expressly
stated that its decision must be applied to all cases on direct
review. Booker, 125 S. Ct. at 769 (citing Griffith v. Kentucky,
479 U.s. 314, 328, 107 S.Ct. 708, 93 L.Ed.2d 649 (1987)(“[A] new
rule for the conduct of criminal prosecutions is to be applied

retroactively to all cases . . . pending on direct review or not

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yet final, with no exception for cases in which the new rule
constitutes a ‘clear break’ with the past”)).

The Sixth Circuit determined in Humphress v. United States,
398 F.3d 855 (6th Cir. 2005), that the rule of Booker does not fall
within the second exception of Teague. ldg at 863(noting that the
Supreme Court has never held that a new rule of criminal procedure
falls with the second. exception. of ieague). Thus, the Sixth
Circuit concluded that Booker does not apply retroactively in
collateral proceedings. Humphress, 398 F.3d at 860. Since these
recent decisions also fail to provide Todd with any basis for
relief, the Court declines to construe defendant's motions
collectively' as a § 2255 motion. Accordingly, the irregular
motions are DENIED. (Docket entries 48 and 49)

As no reasonable jurist could disagree that this Court is
without jurisdiction to modify defendant's sentence, it is
CERTIFIED, pursuant to Fed. R. App. 24(a) that any appeal in this

matter by defendant, proceeding in forma pauperis, is not taken in

good faith.

iT is so 0RDERED this __I___a‘\ day of May, 2005.

dade

ANIEL BREEN
l ED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
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Honorable J. Breen
US DISTRICT COURT

